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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF OHIO

 EASTERN GATEWAY COMMUNITY                         )
 COLLEGE,                                          )
 4000 Sunset Blvd.,                                )   CASE NO.
 Steubenville, OH 43952                            )
                                                   )
            Plaintiff,                             )
                                                   )   COMPLAINT FOR INJUNCTIVE
      v.                                           )   RELIEF AND DAMAGES
                                                   )
 MIGUEL CARDONA, in his official                   )   (JURY TRIAL DEMANDED)
 capacity as the United States Secretary of        )
 Education, and UNITED STATES                      )
 DEPARTMENT OF EDUCATION,                          )
 400 Maryland Avenue SW                            )
 Washington, DC 20202                              )
                                                   )
            Defendants.                            )

       Now comes Plaintiff, Eastern Gateway Community College (“EGCC”), by and through

undersigned counsel, and for its Complaint against Defendants Secretary of Education Miguel

Cardona and the United States Department of Education (collectively, “DOE” or the

“Department”), states and alleges the following:

                                      INTRODUCTION

   1. For seven years, Eastern Gateway Community College has provided scholarships to more

than 90,000 union-affiliated students through the Free College Benefit Program (the “Program”).

   2. Less than a month before the Fall 2022 semester was set to begin, the U.S. Department of

Education issued an unprecedented and unauthorized directive to EGCC to “cease providing the

Free College Benefit program” and to “not disburse Pell funds to any new students” enrolling in

the program, endangering the education of approximately 30,000 current students. See July 18,

2022 Cease-and-Desist Letter, attached hereto as Exhibit 1.
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   3. What is more, despite immediate, repeated and urgent requests for clarity as to how the

program might be redesigned or what specific standards must be met for EGCC to continue to

serve its students, DOE has refused EGCC any opportunity to be heard. Left with no choice, EGCC

brings this action to challenge the unauthorized issuance of a Cease-and-Desist Letter and

subsequent enforcement actions by DOE while a federal program review is still pending.

   4. As detailed throughout this Complaint, the DOE has deprived EGCC of its due process

rights and exceeded its statutory authority by issuing a Cease-and-Desist Letter that has the

immediate impact of significantly limiting EGCC’s participation in federal financial aid, without

notice or opportunity for hearing.

   5. Perhaps the most striking fact of the DOE’s overreach is that every allegation lodged in the

Cease-and-Desist Letter and subsequent enforcement actions is apparently based on a program

review determination letter that EGCC has yet to receive. As the Court will see throughout this

Complaint, EGCC has tirelessly put forth numerous attempts to resolve the DOE’s concerns before

resorting to the filing of this Complaint, including fully complying with the demands of DOE’s

program review, negotiating with the DOE, proposing solutions to resolve DOE’s stated concerns

(including offering a full redesign of the Program), appealing the incorrect conclusions drawn in

the Cease-and-Desist Letter to the DOE Office of Hearings and Appeals (appeal procedurally

denied), and otherwise asserting EGCC’s due process rights.

   6. At every step, EGCC has been met with a refusal from the DOE to respond to EGCC’s

proposed redesign of the Program, a denial of appeal rights before a hearing, and even a refusal

from the DOE to answer basic follow-up questions via email or phone call directly related to the

Cease-and-Desist Letter that would provide the necessary parameters for EGCC to restructure its

program, as the DOE suggested.



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   7. Had the DOE provided EGCC with any chance to respond to or appeal DOE’s arbitrary

and incorrect determination that the Program violates Title IV requirements before taking the

severe and immediate enforcement action of the Cease and Desist, EGCC would not have been

forced to file this Complaint.

                                         THE PARTIES

   8. Plaintiff EGCC is a not-for-profit corporation, incorporated under the laws of the State of

Ohio. EGCC is a two-year public comprehensive community college that exists under the authority

of Ohio Revised Code § 3354.24 and is a political subdivision of the State of Ohio. At all times

relevant to this Complaint, EGCC has operated a community college branch in Steubenville, Ohio

and Youngstown, Ohio.

   9. Defendant Miguel Cardona is Secretary of Education and is sued in his official capacity

pursuant to 5 U.S.C. § 702.

   10. Defendant DOE is an executive agency of the Federal Government of the United Sates

empowered to administer the Pell Grant Program pursuant to 20 U.S.C. § 1070a(a)(1). As such, it

engages in agency action and is named as a defendant in this action pursuant to 5 U.S.C. § 702.

                                 JURISDICTION AND VENUE

   11. This Court has jurisdiction over Plaintiff’s Complaint pursuant to 28 U.S.C. §§ 1331 and

1346, which provides for original jurisdiction over civil suits arising under the Constitution, laws,

or treaties of the United States and administrative agencies, including the Administrative

Procedure Act (APA), 5 U.S.C. §§ 553, 701-06.

   12. This Court has the authority to issue declaratory relief, injunctive relief, and other relief

pursuant to the Declaratory Judgment Act, 28 U.S.C. §§ 2201-02, and the APA, 5 U.S.C. §§ 702,

705-06.



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     13. This is a civil action in which Defendants are agencies of the United States or officers of

such an agency. Venue is proper in this Court because a substantial part of the events giving rise

to this action occurred in this district. See 28 U.S.C. § 1391(e)(1).

                                   FACTUAL BACKGROUND
                          EGCC and the Free College Benefit Program

     14. EGCC’s Free College Benefit Program provides access to “free college” for union

members and their families. The Program follows the “last-dollar” or “last-mile” model of free

college, in which an entity – including a State government or institution – will pay any tuition

remaining at a public college after a student’s existing federal financial aid award is used. This

model is one of two common models of free college 1, and is used by States at large, for example,

by Rhode Island, Tennessee, and Utah, but it is also employed by individual institutions, like

EGCC.

     15. Under the Program, all students are charged the same rate for tuition and fees, regardless

of their Title IV eligibility. Next, eligibility for Pell Grants is calculated and applied in accordance

with DOE policy 2 and federal financial aid regulations, factoring in the student’s enrollment status,

cost of attendance, and expected family contribution. After Pell Grants are applied, any state aid,

employer or other third-party education grants are applied. The remaining balance, if any, is

covered by a last-dollar scholarship through tuition waivers under the Program.

     16. In order to offer qualifying students the last-dollar scholarship, EGCC obtained approval

from the Chancellor of the Ohio Department of Higher Education (“ODHE”) as required by Ohio

law. See 381.170 of Am. Sub. H.B. 166 and Directive 2009-011. EGCC received approval through



1
  First-Dollar vs. Last-Dollar Promise Models, Association of Community College Trustees,
https://www.acct.org/page/first-dollar-vs-last-dollar-promise-models.
2
  Packaging Aid | 2022-2023 Federal Student Aid Handbook.

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ODHE for offering institutional support such as last-dollar scholarships (tuition waivers) up to

$3,500 per year for each eligible in-state student, and up to $6,000 per year for each eligible out-

of-state student. See ODHE Directive, attached hereto as Exhibit 2.

      17. Accordingly, students participating in the Program generally do not need to borrow Federal

Direct Loans because the Pell Grant, other aid, and/or the last-dollar scholarship through tuition

waivers cover the student’s tuition and fee costs. Eligible students participating in the Program

may borrow up to $1,000 in loans per semester to help offset indirect educational expenses,

however, they cannot incur debt in excess of $1,000 per semester without forfeiting their eligibility

for the Program.

      18. The last-dollar scholarship is treated as a payment of tuition and fees that have been

charged to the student. As such, per DOE policy, the scholarship is considered part of a student’s

estimated financial assistance (“EFA”) and the full amount of the tuition and fees are included in

a student’s cost of attendance. 3

                            Relevant Statutory and Regulatory Framework

      19. The Pell Grant Program, a Federal student financial assistance program authorized under

Title IV of the Higher Education Act of 1965 (hereinafter “HEA” or “Title IV”), as amended, 20

U.S.C. § 1070 et seq. . The Pell Grant Program awards grants (not loans) to help financially needy

students who need assistance meeting the cost of their postsecondary education. 20 U.S.C. § 1070;

34 C.F.R. § 690.1 (1994).

      20. To participate in the Pell Grant Program, an institution first must establish eligibility as an

“institution of higher education.” 20 U.S.C. § 1099c(a); 34 C.F.R. § 600.4.




3
    Cost of Attendance (Budget) | 2022-2023 Federal Student Aid Handbook

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    21. To qualify as an eligible “institution of higher education,” a school must, among other

things, provide an educational program for which it awards an associate degree and/or “prepare

students for gainful employment in a recognized occupation.” 20 U.S.C. § 1001(a); see also 34

C.F.R. §§ 600.4(a)(4), 668.8(c). It also must possess accreditation from a nationally recognized

accrediting agency. 20 U.S.C. § 1001(a)(5); 34 C.F.R. § 600.4(a)(5).

    22. An institution may participate in the Pell Grant Program as long as it complies with

eligibility requirements and until the Department officially determines that it no longer does so. If

the Department seeks to limit or terminate an institution’s participation, it must initiate a limitation

or termination proceeding by sending an institution or third-party servicer a notice by certified

mail. 20 U.S.C. § 1094(c)(1)(F); 34 C.F.R. §§ 600.41, 668.86. Such notice must, among other

requirements, inform the institution of the intent to limit or terminate the institution’s participation

in federal financial aid, cite the consequences, identify the alleged violations that constitute the

basis for the action, state any limits to be imposed, and specify that the limitation or termination

will not be effective from the date of the notice if the institution requests a hearing. If a hearing is

requested, the limitation or termination does not take place until after the requested hearing is

held 34 C.F.R. §§ 668.86(b)(3)-(4), 668.88, 668.89.

                                  DOE’s Cease-and-Desist Letter

    23. On February 7, 2022, the DOE began an off-site program review at EGCC. The stated

purpose of this review in the DOE’s January 24, 2022 announcement letter was to “assess EGCC’s

administration of the Title IV, HEA programs in which it participates.” This review is still ongoing.

    24. In addition to working to respond to the weekly, if not daily document requests from the

DOE, EGCC participated in multiple phone interviews with DOE staff. Through April and May

2022, the DOE conducted lengthy interviews with Michael Geoghegan, President of EGCC, and



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Kurt Pawlak, Associate Vice President for Financial Aid at EGCC. These interviews lasted over

two hours each, and neither Mr. Geoghegan nor Mr. Pawlak were permitted attorney representation

during the interviews.

   25. On July 18, 2022, the DOE issued a Cease-and-Desist Letter to EGCC alleging that the

Program administered through EGCC was in violation Title IV and instructing EGCC to cease

providing the Program in its current form.

   26. In the letter, the DOE alleged that Title IV recipients enrolled under EGCC’s Program were

charged more than non-Title IV recipients enrolled under the same Program. The DOE asserts that

this is in direct contravention to the definition of “cost of attendance” in Section 108711 of Title

IV (requiring an institution to use an amount that is “normally assessed a student carrying the same

academic workload” when establishing the tuition and fee component for Title IV recipients). The

DOE also cited to guidance stating that a recipient of Title IV assistance cannot be assessed charges

that are higher than what is charged to a student not receiving Title IV aid. See 2021-2022 Student

Financial Aid Handbook, Vol. 3 at 56.

   27. Finally, the Cease-and-Desist Letter also prohibited EGCC from disbursing Pell Grant

funds on or after July 18, 2022 to any new students enrolling in the Program.

   28. Without the ability to disperse Pell funds to new students, EGCC does not have the ability

or funding to enroll future students in the Program. Pell funds account for approximately 74.5%

of EGCC’s overall revenue.

   29. On July 19, 2022, EGCC responded to the DOE’s Cease-and-Desist Letter. The pertinent

points of EGCC’s response are as follows:




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               a)      The Program does not charge a higher amount for Pell recipient students.

       The tuition and fees are the same for both populations, and EGCC’s program simply

       ensures that all students can attend college free of charge, regardless of their Pell eligibility.

               b)      There is no requirement in the HEA or any other regulation or guidance that

       scholarships must be funded by State or local governments rather than institutional dollars.

               c)      So-called “last dollar scholarships,” like EGCC’s, are generally accepted as

       one of two common models of “free college.” Under this model, an entity—including a

       State government or institution—will pay any tuition remaining at a public college after a

       student’s existing federal financial aid award is used.

               d)      The DOE’s directive that EGCC “must not” disburse Pell funds to any new

       students” until the Program is “redesigned to charge full tuition and fees for non-Pell

       students” and must “cease waiving the tuition and fees for non-Pell students” is wholly

       unfair as it does not provide specific instructions on how this might be accomplished or

       what specific standards must be met. This is even more true, given that the Cease-and-

       Desist letter was sent less than a month before classes started for union-affiliated students

       on August 15, 2022.

   30. The Cease-and-Desist Letter was the first communication received by EGCC indicating

the DOE finds EGCC’s Program problematic. At the same time, the Cease-and-Desist Letter is

presented as a final decision, effective almost immediately, with no opportunity to remedy or

avenue for appeal before EGCC’s access to Pell funds is limited.

   31. EGCC requested that the DOE provide EGCC with an opportunity to disburse Pell funds

for the fall semester and offer the free educational benefit promised to the students already

enrolled.



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   32. EGCC further followed up with the DOE on July 20th and the 21st, seeking additional

information regarding the status of the approximately 30,000 union-affiliated students currently

enrolled in the Program for the Summer and/or Fall terms.

   33. On July 22, 2022, EGCC filed an Appeal of Limitation (OPE ID: 00727500) with the

United States Department of Education Administrative Actions and Appeals Division. See Appeal,

attached hereto as Exhibit 3. EGCC asserted the following Issues and Facts in Dispute:

              a.      EGCC disputes that it assesses tuition and fee charges that are higher for

       Title IV recipients as compared to non-Title IV recipients.

             b.       EGCC disputes that outside entities “provide virtually no funds” toward the

         Program,

             c.       EGCC disputes that its institutional support to cover the “last dollar” of

         college tuition for union-affiliated students qualifying for the Free College Benefit

         violates any statutory or regulatory requirement.

             d.       EGCC disputes that all comparable last-dollar scholarship programs are

         fully funded by a third-party source of income.

             e.       EGCC disputes that last dollar scholarships, including through institutional

         support and tuition waivers, create discrepant tuition pricing for Pell-eligible students as

         compared to Pell-ineligible students.

             f.       EGCC disputes that its implementation of the Free College Benefit has put

         EGCC in “a very precarious financial position” or “calls into question EGCC’s continued

         viability as an educational institution,” as stated in the Cease-and-Desist Letter.

   34. The Director of the Administrative Actions and Appeals Service Group responded to

EGCC’s Appeal of Limitation on July 26, 2022, indicating that the Cease-and-Desist Letter was



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not a limitation action and, therefore, EGCC had no basis for appealing the DOE’s decision. See

Appeal Denial, attached hereto as Exhibit 4. The letter first incorrectly states that the Program

violates Title IV, yet in the next paragraph, concludes that EGCC has no basis for appeal and states

that the appeal will not be forwarded to the Department’s Office of Hearings and Appeals.

   35. In an effort to better understand the DOE’s position given the conflicting instructions in

the Cease-and-Desist Letter and the denial of the Appeal, EGCC requested a call with Dr. Jeremy

Early of the Office of Federal Student Aid, who signed the Cease-and-Desist Letter. Initially, Dr.

Early agreed to a call on July 27, 2022. However, after President Geoghegan provided Dr. Early

with the questions EGCC intended to ask on the call—all of which were directly related to the

Cease-and-Desist Letter and the concerns raised therein—Dr. Early cancelled the meeting, noting

in his cancellation that “the Department would like to postpone the meeting scheduled for today

so that we can internally discuss all of the questions and provide answers.” As of the date of this

Complaint, EGCC has yet to receive a response on most of the questions submitted on July 27,

2022.

   36. On July 29, 2022, the DOE notified EGCC that students who had been attending the

Program at EGCC for the Spring and/or Summer semesters, but who had not registered for classes

by the date of the Cease-and-Desist Letter (July 18, 2022) were entitled to receive Title IV aid for

the Fall 2022 semester. See Notice, attached hereto as Exhibit 5.

   37. On August 5, 2022, in response to the questions EGCC’s submitted on July 27, 2022,

EGCC received correspondence from the DOE stating that it “does not respond to hypothetical

questions like those posed by EGCC” and instead, “[i]f EGCC provides a concrete proposal for

the revised program, the Department will provide its position as to whether that plan is consistent

with Title IV requirements.” See Correspondence, attached hereto as Exhibit 6. The



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correspondence also stated that the DOE determined there were “virtually no funds being provided

by any sources outside of Title IV” and that “Title IV funds are essentially funding the ‘free tuition’

for non-Title IV students.” The DOE suggested that EGCC could remedy the foregoing by seeking

funding from outside sources including third party grants or endowments.

   38. On August 8, 2022, EGCC received correspondence from DOE placing EGCC on the

Heightened Cash Monitoring 2 (“HCM2”) method of payment effective immediately. See HCM2

Letter, attached hereto as Exhibit 7. HCM2 requires EGCC to disburse institutional funds to Pell-

eligible students prior to requesting and receiving reimbursement from the DOE. As such, EGCC

must have institutional funding available to cover initial disbursements to the more than 30,000

students enrolled in the Program while it waits for DOE’s review and approval of any Pell Grant

funds. DOE also reserved “the right to offset any federal claims against funds due to EGCC” and

reserved the right to take administrative action against EGCC in the future.

   39. On August 10, 2022, in response to the DOE’s August 5, 2022 correspondence suggesting

that EGCC provide a proposal for redesign, EGCC provided DOE with a proposed redesign of the

Program in which the last-dollar scholarships would be funded through the EGCC Foundation, a

distinct 503(c)(4) non-profit entity. To date, EGCC has not heard from DOE regarding its proposal.

   40. Also, on August 10, 2022, a few hours after EGCC submitted the Program redesign

proposal, EGCC received additional correspondence from DOE requiring EGCC to propose and

then enter into a teach-out agreement within thirty (30) days. See Teach-Out Letter, attached hereto

as Exhibit 8. The teach-out agreement will effectively require EGCC students, including but not

limited to students enrolled in the Program prior to July 18, 2022, to transfer out of EGCC to

complete their programs of study.




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   41. DOE’s Cease and Desist, placement of EGCC on heightened cash monitoring status, and

demand of a teach-out agreement all cite to the pending program review as forming the basis for

DOE’s enforcement actions. However, DOE has not yet issued the program review report with its

findings, depriving EGCC of any opportunity to respond to the report’s allegations.

   42. Enrollment for the Spring semester is scheduled to begin at EGCC in October 2022.

                                       Irreparable Harm

   43. Absent injunctive and declaratory relief declaring unlawful and enjoining the DOE’s

Cease-and-Desist Letter and subsequent enforcement actions, including the HCM2 status and

teach-out requirement, EGCC and its students will be immediately, continuously, and irreparably

harmed by the DOE’s illegal actions.

   44. DOE’s actions create certain and imminent financial losses so severe to EGCC that it

threatens its continued operations as a community college. Currently, approximately 30,000

students are enrolled in the Program. DOE’s Cease-and-Desist Letter prohibits any new

enrollments and requires EGCC to provide a teach out agreement, effectively securing the transfers

of all current students to other institutions. These actions irreparably harm EGCC’s proprietary

interests, preventing new enrollments and forcing current students to disenroll from EGCC.

Disenrollment results in a drop in tuition payments to the institution, including Pell Grants and

state subsidies, the primary sources of EGCC’s funding. No statutory provision exits that would

enable EGCC to recoup this lost tuition from DOE if EGCC prevailed at the conclusion of this

litigation. Additionally, DOE’s unlawful actions deprive EGCC of its constitutional due process,

causing irreparable harm.

   45. Thousands of EGCC students will be seriously harmed by the DOE’s action. DOE’s

incorrect determination the Program violates Title IV requirements and unauthorized Cease and



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Desist denies access to college to vulnerable students (at the heels of a pandemic), forcing them to

abandon or unreasonably delay their higher education.

                                     CLAIMS FOR RELIEF

                                           COUNT I
                  Violation of 5 U.S.C. § 702 and 34 C.F.R. § 668.86(b)(1)(iii)

   46. EGCC re-alleges and incorporates by reference herein all prior allegations contained in this

Complaint.

   47. In general, 5 U.S.C. § 702 gives a right of review of a federal agency action: “A person

suffering legal wrong because of agency action, or adversely affected or aggrieved by agency

action within the meaning of a relevant statute, is entitled to judicial review thereof.”

   48. Final agency actions are subject to judicial review. 5 U.S.C. § 704. The DOE’s Cease-and-

Desist Letter constitutes final agency action because the action 1) marks the consummation of the

agency's decision-making process in that it is not merely tentative or interlocutory in nature; and

2) is one by which rights or obligations have been determined, or from which legal consequences

will flow. Bennett v. Spear, 520 U.S. 154, 177–78, 117 S. Ct. 1154, 1168, 137 L. Ed. 2d 281

(1997).

   49. The Cease-and-Desist Letter is an attempt on behalf of the DOE to avoid review of a final

action.

   50. As a direct and proximate result of the DOE’s unlawful action, EGCC has been materially

damaged and will continue to incur such damage.

   51. An actual, justiciable controversy exists between EGCC and the DOE for which EGCC has

no adequate remedy at law.

   52. Absent injunctive and declaratory relief declaring unlawful and enjoining the DOE’s

Cease-and-Desist Letter and subsequent enforcement actions, including the HCM2 status and

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teach-out requirement, EGCC and its students will be immediately, continuously, and irreparably

harmed by the DOE’s illegal actions.

                                       COUNT II
  The DOE’s Decision Violated EGCC’s Right to Due Process Under the Administrative
 Procedure Act (Agency Action in Excess of Statutory Authority, Short of Statutory Right,
                            or Not in Accordance with Law)

   53. EGCC re-alleges and incorporates by reference herein all prior allegations contained in this

Complaint.

   54. The Administrative Procedure Act (“APA”) requires that a court hold unlawful and set

aside agency action, findings, and conclusions found to be in excess of statutory authority, short

of statutory right, or not in accordance with law. 5 U.S.C. § 706(2)(A), (C).

   55. 20 U.S.C. § 1094 of the Higher Education Act (“HEA”) outlines the comprehensive

enforcement tools and actions the DOE may take with respect to an institution it believes in

violation of Title IV of the HEA. These specific enforcement actions include suspension, limitation

or termination of the participation in federal financial aid programs, as well as emergency actions.

All such actions provide for notice and show cause or administrative appeal.

   56. As EGCC argued in its appeal (the opportunity for which was denied by DOE before even

being sent to the Office of Hearings and Appeals for hearing), the DOE’s issuance of the Cease-

and-Desist Letter constituted a limitation of EGCC’s ability to participate in federal financial aid,

yet the DOE failed to abide by the established regulatory procedures outlined in 34 C.F.R. § 668.86

to initiate limitation proceedings.

   57. The Cease-and-Desist Letter informed EGCC for the first time of the DOE’s interpretation

that the Program administered by EGCC violates the Title IV prohibition against assessing charges

to Title IV recipients that are higher than those charges assessed to non-Title IV recipients. By

concluding that the Program is ineligible and ordering that EGCC cease enrollment of any new

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students in the Program, the Cease-and-Desist Letter immediately limited EGCC’s participation

in federal financial aid.

    58. The DOE’s subsequent demand that EGCC enter into a teach-out agreement is further

evidence that the Cease-and-Desist Letter is a limitation, because under 20 U.S.C. § 1094(f)(1),

teach out agreements are required only “in the event the Secretary initiates the limitation,

suspension, or termination of the participation of an institution of higher education.”

    59. The HEA provides that the Secretary shall prescribe regulations necessary for “the

limitation, suspension, or termination of the participation in any program under this subchapter of

an eligible institution…whenever the Secretary has determined, after reasonable notice and

opportunity for hearing, that such institution has violated or failed to carry out any provision of

this subchapter, any regulation prescribed under this subchapter.” 20 U.S.C. § 1094(c)(1)(F)

(emphasis added). The Subpart G regulations at 34 C.F.R. § 668.86(b) outline the specific

procedures to be applied in order to initiate limitation or termination proceedings. The regulations

at 34 C.F.R. § 668.86(b) require that the DOE provide notice to the institution that includes: the

intent of the DOE to limit or terminate the institution’s participation or servicer’s eligibility;

citations to the consequences of that action; identification of the alleged violations that constitute

the basis for the action; and the limits to be imposed. In addition, the notice must inform the

institution that the limitation or termination will not be effective on the date specified in the notice

if the DOE receives a request from the institution for a hearing or written material indicating why

the limitation or termination should not take place.

    60. The Cease-and-Desist Letter fails to include any of the requirements outlined in the

regulatory framework for limitation proceedings. Although EGCC has demonstrated to the DOE

on countless occasions throughout this program review that the tuition and fees rate assessed to



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students is the same regardless of whether students are eligible for Title IV aid, the DOE draws

the incorrect conclusion that EGCC’s program “as currently implemented” violates Title IV and

immediately limits EGCC’s participation in federal financial aid. The Cease-and-Desist Letter

unallowably provides for no opportunity for appeal or response by EGCC.

   61. When EGCC attempted to assert its administrative appeal rights under 20 U.S.C. § 1094

and 34 C.F.R. § 668.86, it was denied the opportunity for hearing. By circumventing the procedural

requirements specifically applicable to limitation actions, the DOE violated EGCC’s right to due

process.

   62. To read the Cease-and-Desist Letter as anything but a limitation on EGCC’s federal

financial aid participation and a denial of due process is to ignore the significant, immediate impact

of the DOE’s action. There are approximately 30,000 students currently enrolled in the Program

whose pursuits in higher education are now uncertain due to DOE’s inconsistent and arbitrary

interpretation of the HEA and its continued denial of EGCC’s due process rights.

   63. Notably, the Cease-and-Desist Letter is not warning EGCC to stop issuing federal financial

aid to students that are ineligible; in fact, there is no allegation that EGCC incorrectly packaged

and awarded federal financial aid to qualifying students. Nor does the Cease-and-Desist Letter

identify an academic program or additional location as ineligible to participate in Title IV. Instead,

the Cease-and-Desist Letter is a broad limitation of EGCC’s participation in Pell based only on

students’ union-affiliation and qualification for institutional scholarship and tuition waiver under

the Program.

   64. However, even if the Court determines that the Cease-and-Desist Letter does not constitute

a limitation of EGCC’s participation in federal financial aid, the only remaining conclusion is that

the DOE’s Cease-and-Desist Letter exceeds the DOE’s statutory authority.



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   65. Given the comprehensive statutory framework under 20 U.S.C. § 1094 providing for

suspension, limitation, termination, and emergency action proceedings, Congress clearly and

intentionally defines the finite avenues through which DOE can enforce federal education laws

and regulations, which do not include cease-and-desist letters. In fact, in other contexts that do not

apply to federal financial aid, Congress specifically includes the use of cease-and-desist letters as

a method of enforcement. The General Education Provisions Act (GEPA), for example,

specifically contemplates the use of cease-and-desist letters as an enforcement mechanism, subject

to notice and hearing opportunity. 20 U.S.C. § 1234(e). While GEPA specifically provides for the

DOE’s use of cease-and-desist letters in applicable programs excluding federal financial aid

programs, 20 U.S.C. § 1234(i)(2)), the HEA specifically provides for other methods of

enforcement that do not include cease and desist letters, or any similar enforcement action

(suspension, limitation or termination actions) that does not provide notice and an opportunity for

hearing.

   66. If the Cease-and-Desist Letter does not constitute a limitation of EGCC’s participation in

federal financial aid, then the DOE has exceeded its statutory authority by issuing an enforcement

action that is not contemplated by law. The DOE exceeded its authority in issuing the Cease-and-

Desist Letter, which has the immediate impact of an enforcement action (albeit of a rule against

institutional last-dollar scholarships that does not yet exist), yet provides for none of the due

process mandated by the enforcement actions that are explicitly provided for under 20 U.S.C. §

1094 and 34 C.F.R. § 668.86.

   67. As such, in issuing the Cease-and-Desist Letter, the DOE has grossly exceeded its statutory

authority, falls short of statutory right, and has not acted in accordance with law.




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   68. As a direct and proximate result of the DOE’s unlawful action, EGCC has been materially

damaged and will continue to incur such damage.

   69. An actual, justiciable controversy exists between EGCC and the DOE for which EGCC has

no adequate remedy at law.

   70. Absent injunctive and declaratory relief declaring unlawful and enjoining the DOE’s

Cease-and-Desist Letter and subsequent enforcement actions, including the HCM2 status and

teach-out requirement, EGCC and its students will be immediately, continuously, and irreparably

harmed by the DOE’s illegal actions.

                                   COUNT III
  The DOE’s Decision Violated EGCC’s Right to Due Process Under the Administrative
              Procedure Act (Arbitrary and Capricious Agency Action)

   71. EGCC re-alleges and incorporates by reference herein all prior allegations contained in this

Complaint.

   72. The APA requires that a court hold unlawful and set aside agency action, findings, and

conclusions found to be arbitrary, capricious, or an abuse of discretion. 5 U.S.C. § 706(2)(A).

   73. A rule is arbitrary and capricious if the agency has “relied on factors which Congress has

not intended it to consider, entirely failed to consider an important aspect of the problem, offered

an explanation for its decision that runs counter to the evidence before the agency, or is so

implausible that it could not be ascribed to a difference in view or the product of agency

expertise.” Motor Veh. Mfrs. Ass'n v. State Farm Ins., 463 U.S. 29, 43 (1983).

   74. The DOE’s interpretation of 20 U.S.C. § 108711 is an arbitrary and capricious agency

action because, among other reasons, the DOE failed to articulate how its position comports with

the plain text of Section 108711 of the HEA and why it was reversing its own guidance regarding




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how Pell is a first source of aid and tuition waivers do not change the underlying cost of attendance,

generating an unexplained inconsistency in the DOE’s position of which it appears to be unaware.

   75. The DOE substantively changed its longstanding position without complying with the

notice and comment requirements of the APA.

   76. In the Cease-and-Desist Letter, the DOE incorrectly and without legal support concludes

that using institutional scholarships or tuition waivers for the remaining balances of union-

affiliated students qualifying for the Program effectively changes the underlying cost of attendance

and therefore is unallowable.

   77. Further, the DOE attempts to distinguish EGCC’s Program from other free college

programs by arbitrarily and without notice or legal support concluding that last-dollar scholarships

must be funded by an “outside entity”, which it asserts may include state appropriations or a

college’s foundation, but cannot be funded through institutional scholarships or tuition waivers.

   78. The DOE’s incorrect first in time determination that offering institutional support through

tuition waivers changes the cost of attendance and results in differential tuition charges to Pell-

eligible and ineligible students directly contradicts existing regulations and guidance on Pell being

a first source of aid, and tuition waivers only impacting other need-based Title IV awards:

   79. “Pell Grants are considered to be the first source of aid for students with financial need. A

student’s eligibility for aid from the other need-based programs is then determined by subtracting

the student’s [expected family contribution] and [estimated financial assistance] (including the

student’s Pell Grant) from the [cost of attendance (COA)].” FSA Handbook (2021-2022), Vol. 3,

Ch. 7, p. 3-193.

   80. “Effects of waivers on COA: If your school treats a waiver as a payment of tuition and fees

that have actually been charged to a student, then the waiver is considered estimated financial



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assistance (EFA) and the full amount of the tuition and fees are included in a student’s COA.” FSA

Handbook (2021-2022), Vol. 3, Ch. 2, p 3-60.

    81. “A correctly determined Pell Grant is never adjusted to take into account other forms of

aid.” FSA Handbook (2021-2022), Vol. 3, Ch. 7, p. 3-195.

    82. The notion that Pell Grants serve as the first source of aid is affirmed in federal financial

aid regulations. Pell eligibility requirements at 34 C.F.R. § 690.6 do not include consideration of

other forms of aid. In contrast, eligibility requirements for other forms of aid, such as student

Stafford loans at 34 C.F.R. § 682.201(a), require that a student “receive[] a final determination, or,

in the case of a student who has filed an application with the school for a Pell Grant, a preliminary

determination, from the school of the student's eligibility or ineligibility for a Pell Grant.” See also

34 C.F.R. 673.5(b) (noting that estimated financial assistance must be considered when awarding

Federal Perkins loan, FSEOG or FWS employment). As such, Pell eligibility, waivers of tuition,

non-need-based awards, scholarships, and other grants must first be determined in order for other

federal sources of financial aid to be calculated.

    83. EGCC’s application of a last-dollar scholarship/tuition waiver through the Program

complies with the regulations and the FSA Handbook. As detailed throughout this Complaint, all

students are charged the same rate for tuition and fees; eligibility for Pell Grants is then calculated

and applied in accordance with federal financial aid regulations; then any state aid or employer

education grants are applied. After Pell Grants and applicable state aid and employer assistance,

the remaining balance, if any, is covered by the last-dollar scholarship in the form of a tuition

waiver.




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    84. Neither Congress nor DOE has addressed free college programs following a last-dollar

model. DOE’s longstanding silence on this issue – despite the prevalence of such programs 4 and

the widespread policy discussion surrounding methods of reducing college costs – creates a

reliance interest, which DOE failed to take into account in its arbitrary determination that such

programs must have an outside funding source.

    85. Further, the DOE ignores important aspects of the problem, and its decision to enforce its

unlawful position runs counter to the evidence before the DOE. The DOE also considered factors

Congress did not intend it to consider. The model used by EGCC is one of two common models

of free college, and is used by States at large, for example, by Rhode Island, Tennessee, and Utah

and individual institutions like EGCC.

    86. As a direct and proximate result of the DOE’s unlawful action, EGCC has been materially

damaged and will continue to incur such damage.

    87. An actual, justiciable controversy exists between EGCC and the DOE for which EGCC has

no adequate remedy at law.

    88. Absent injunctive and declaratory relief declaring unlawful and enjoining the DOE’s

Cease-and-Desist Letter and subsequent enforcement actions, including the HCM2 status and

teach-out requirement, EGCC and its students will be immediately, continuously, and irreparably

harmed by the DOE’s illegal actions.




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  See, e.g., College Promise, identifying 362 free-college programs nationwide,
https://www.mypromisetool.org/?source=college-promise-web; Campaign for Free College Tuition,
identifying free college tuition programs in at least 32 states,
https://www.freecollegenow.org/promise_programs; Community College Recover Students Through Free
Tuition, The Psychological Power of the Word ‘Free’, Inside Higher Education, August 11, 2022.

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                                     COUNT IV
        The DOE’s Decision Violated EGCC’s Rights to Constitutional Due Process

   89. EGCC re-alleges and incorporates by reference herein all prior allegations contained in this

Complaint.

   90. EGCC is entitled to a constitutionally protected life, liberty, or property interest.

   91. The DOE has deprived it of that protected interest.

   92. The DOE’s procedures were constitutionally inadequate or unfair.

   93. The DOE did not provide adequate notice and opportunity to be heard before depriving

EGCC of its constitutionally protected interest.

   94. As a direct and proximate result of the DOE’s unconstitutional action, EGCC has been

materially damaged and will continue to incur such damage.

   95. An actual, justiciable controversy exists between EGCC and the DOE for which EGCC has

no adequate remedy at law.

   96. Absent injunctive and declaratory relief declaring unlawful and enjoining the DOE’s

Cease-and-Desist Letter and subsequent enforcement actions, including the HCM2 status and

teach-out requirement, EGCC and its students will be immediately, continuously, and irreparably

harmed by the DOE’s unconstitutional actions.

                                    COUNT V
  The DOE’s Decision Violated EGCC’s Rights to Due Process Under the Administrative
   Procedure Act (Agency Action Without Observance of Procedure Required by Law)

   97. EGCC re-alleges and incorporates by reference herein all prior allegations contained in this

Complaint.

   98. The APA requires that a court hold unlawful and set aside agency action, findings, and

conclusions found to be without observance of procedure required by law. 5 U.S.C. § 706(2)(D).




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   99. The agency must publish a “[g]eneral notice of proposed rulemaking” in the Federal

Register. 5 U.S.C. § 553(b). That notice must describe “either the terms or substance of the

proposed rule or a description of the subjects and issues involved.” 5 U.S.C. § 553(b)(3).

   100.        The agency must further provide “interested persons” an “opportunity to participate

in the rule making through submission of written data, views, or arguments with or without

opportunity for oral presentation.” 5 U.S.C. § 553(c).

   101.        The DOE substantively changed its longstanding position without complying with

the notice and comment requirements of the APA.

   102.        In the Cease-and-Desist Letter, the DOE incorrectly and without legal support

concludes that using institutional scholarships or tuition waivers for the remaining balances of

union-affiliated students qualifying for the Program effectively changes the underlying cost of

attendance and therefore is unallowable.

   103.        DOE’s Cease-and-Desist Letter seeks to enforce a rule that using institutional last-

dollar scholarships or tuition waivers that are not funded entirely by outside sources effectively

changes the underlying cost of attendance and is therefore unallowable.

   104.        The problem with this is twofold. First, as detailed throughout this Complaint,

DOE’s enforcement action without notice or opportunity for hearing deprives EGCC of its due

process rights under the HEA, the APA, and the Constitution. Second, and pertinent to this claim,

is that the rule DOE seeks to enforce does not exist. DOE cites no legal support for its position

because no legal support exists. Nowhere in the HEA, the implementing regulations, or guidance

will the Court find support for DOE’s position that institutional last-dollar scholarships effectively

change the cost of attendance and must be funded entirely by an outside source.




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   105.         In fact, as detailed in Count III, DOE guidance explicitly states the opposite: that

tuition waivers treated “as a payment of tuition and fees that have actually been charged to a

student” (as EGCC does) does not reduce the cost of attendance, but rather “the full amount of the

tuition and fees are included in a student’s COA.”

   106.         Moreover, the last-dollar scholarship model is widely used in schools across the

country. If DOE’s incorrect interpretation that these scholarships change the cost of attendance

and must be entirely funded by outside sources is treated as an enforceable rule, the allowability

of all of these last-dollar scholarship programs is called into question.

   107.         The DOE cannot enforce a rule that does not exist, especially in a way that seeks to

limit or terminate EGCC’s participation in federal financial aid without notice or opportunity for

hearing.

   108.         Before the DOE can enforce a rule, it must first follow the long-established

statutory framework for agency rulemaking procedures by publishing a notice of proposed

rulemaking and providing interested persons an opportunity for notice and public comment. 5

U.S.C. § 553.

   109.         The DOE has not sought to establish good cause to waive these notice and public

comment procedures required under the APA due to these procedural requirements being

impracticable, unnecessary, or contrary to the public interest. 5 U.S.C. § 553(b). As such, the DOE

is not exempt from the rulemaking procedures specifically prescribed by statute.

   110.         Because the DOE’s Cease-and-Desist Letter and subsequent penalties were issued

without observance of procedure required by law, the action was unlawful and must be set aside.

   111.         As a direct and proximate result of DOE’s unlawful action, EGCC has been

materially damaged and will continue to incur such damage.



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   112.        An actual, justiciable controversy exists between EGCC and the DOE for which

EGCC has no adequate remedy at law.

   113.        Absent injunctive and declaratory relief declaring unlawful and enjoining the

DOE’s Cease-and-Desist Letter and subsequent enforcement actions, including the HCM2 status

and teach-out requirement, EGCC and its students will be immediately, continuously, and

irreparably harmed by the DOE’s illegal actions.

                                    PRAYER FOR RELIEF

       WHEREFORE, Plaintiff, Eastern Gateway Community College, respectfully requests

entry of judgment against Defendants Secretary of Education Miguel Cardona and the United

States Department of Education on all claims asserted, for injunctive and declaratory relief

declaring unlawful and enjoining the DOE’s Cease-and-Desist Letter and subsequent enforcement

actions, including the HCM2 status and teach-out requirement, and for such violation as demands

an award of compensatory damages, punitive damages including statutory penalties as provided

by law, the costs of this action and attorneys’ fees, and any further relief that this Court believes

just and equitable.



                                              /s/ Adam D. Fuller
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                                      JURY DEMAND

        Plaintiff Eastern Gateway Community College hereby demands trial by jury on all claims
stated herein so triable.

                                                   /s/ Adam D. Fuller
                                                   Special Counsel for Plaintiff Eastern
                                                   Gateway Community College




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